Case 2:23-cv-02000-WSS   Document 11-5   Filed 11/20/23   Page 1 of 10




             EXHIBIT E
          Mesiti Declaration
      Design Patent No. D475,278
   Case 2:23-cv-02000-WSS                                 Document 11-5                 Filed 11/20/23           Page 2 of 10

                                                                                                   USOOD475278S


(12) Williams
     United States Design Patent (10) Patent No.:                                                                US D475,278 S
                                                                                   (45) Date of Patent:           8      Jun. 3, 2003
(54) SOCK HOOK                                                                FIG. 2 is an enlarged perspective View of the Sock hook
                                                                              shown in FIG. 1;
(75) Inventor: Arnold H. Williams, Boxborough, MA                             FIG. 3 is a right side elevational view of the sock hook
               (US)                                                           shown in FIG. 1;
(73) Assignee: Christmas Cove Designs, Inc.,                                  FIG. 4 is a left side elevational view of the Sock hook shown
               Richmond, ME (US)                                              in FIG. 1;
(**) Term:            14 Years                                                FIG. 5 is a top plan view of the sock hook shown in FIG. 1;
(21) Appl. No. 29/161,139                                                     FIG. 6 is a bottom plan view of the sock hook shown in FIG.
                                                                              1;
(22) Filed:      May 23, 2002                                                 FIG. 7 is a front elevational view of the Sock hook shown in
(51) LOC (7) Cl. .................................................... 08-05   FIG. 1;
(52) U.S. Cl. .......................................... D8/367; D3/328       FIG. 8 is a rear elevational view of the Sock hook shown in
(58) Field of Search ......................... D8/373, 367, 368;              FIG. 1;
                   211/113, 86.01, 106.01, 13.1; D11/42, 126,                 FIG. 9 is a perspective view of a second embodiment of the
                     130; 248/214, 215, 302-308, 309.1, 339,                  Sock hook showing my new design, the broken lines shown
                    341,914, 497; D3/328,304; D6/315, 317                     are for illustrative purposes only and form no part of the
(56)                      References Cited                                    claimed design;
                  U.S. PATENT DOCUMENTS                                       FIG. 10 is an enlarged perspective view of the sock hook
                                                                              shown in FIG. 9;
       2,473,086 A   6/1949 Montero ..................... 248/308             FIG. 11 is a right side elevational view of the sock hook
       2,521,037 A * 9/1950 Brinton ........         ... 211 (85.3
       D244,883 S * 6/1977 Rohrmuller .................. D3/328               shown in FIG. 9;
       D295,267 S * 4/1988 Saraga ........................ D11/42             FIG. 12 is a left side elevational view of the Sock hook
       5,816.558 A * 10/1998 Sommer et al. ..... ... 248/544                  shown in FIG. 9;
       D401,840 S : 12/1998 Goodman et al. ........... D8/367
* cited by examiner                                                           FIG. 13 is a top plan view of the sock hook shown in FIG.
                                                                              9;
Primary Examiner Pamela Burgess                                               FIG. 14 is a bottom plan view of the sock hook shown in
(74) Attorney, Agent, or Firm Pandiscio & Pandiscio                           FIG. 9;
(57)                            CLAIM                                         FIG. 15 is a front elevational view of the Sock hook shown
The ornamental design for a Sock hook, as shown and                           in FIG. 9; and,
described.                                                                    FIG. 16 is a rear elevational view of the Sock hook shown
                          DESCRIPTION                                         in FIG. 9.

FIG. 1 is a perspective View of a Sock hook showing my new
design, the broken lines shown are for illustrative purposes
only and form no part of the claimed design;                                                    1 Claim, 8 Drawing Sheets
 Case 2:23-cv-02000-WSS   Document 11-5   Filed 11/20/23   Page 3 of 10


U.S. Patent        Jun. 3, 2003   Sheet 1 of 8             US D475,278 S
Case 2:23-cv-02000-WSS   Document 11-5   Filed 11/20/23   Page 4 of 10
 Case 2:23-cv-02000-WSS   Document 11-5   Filed 11/20/23   Page 5 of 10


U.S. Patent        Jun. 3, 2003   Sheet 3 of 8             US D475,278 S
 Case 2:23-cv-02000-WSS   Document 11-5     Filed 11/20/23   Page 6 of 10


U.S. Patent        Jun. 3, 2003     Sheet 4 of 8             US D475,278 S



                    OS            FIG.5



                    OSS           FIG. 6
 Case 2:23-cv-02000-WSS   Document 11-5   Filed 11/20/23   Page 7 of 10


U.S. Patent        Jun. 3, 2003   Sheet 5 of 8             US D475,278 S




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        FIG.9
 Case 2:23-cv-02000-WSS   Document 11-5   Filed 11/20/23   Page 8 of 10


U.S. Patent                                                US D475,278 S




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 Case 2:23-cv-02000-WSS   Document 11-5   Filed 11/20/23   Page 9 of 10


U.S. Patent        Jun. 3, 2003   Sheet 7 of 8             US D475,278 S
Case 2:23-cv-02000-WSS   Document 11-5     Filed 11/20/23   Page 10 of 10


U.S. Patent       Jun. 3, 2003      Sheet 8 of 8            US D475,278 S



                     (SN)
                                 F.G. 13



                     (OSS
                                 F.G. 14
